           IN THE UNITED STATES DISTRICT COURT FOR
              THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION
                               )
TIMOTHY MAUNTLER               )
Plaintiff,                     )
                               ) Case No.: 2:22-CV-025-RWS-JCF
               v.              )
                               )
LVNV FUNDING, LLC, a           ) COMPLAINT FOR
Delaware Limited Liability     ) VIOLATIONS OF THE FAIR
Company &                      ) DEBT COLLECTION
RESURGENT CAPITAL              ) PRACTICES ACT (“FDCPA”) &
SERVICES L.P., a Delaware      ) GEORGIA’S FAIR
Limited Partnership.           ) BUSINESS PRACTICES ACT
Defendants.                    ) (“FBPA”)
                               )
                               ) JURY TRIAL DEMANDED

 COMPLAINT FOR VIOLATIONS OF THE FAIR DEBT COLLECTION
 PRACTICES ACT & GEORGIA’S FAIR BUSINESS PRACTICES ACT

      COMES NOW, Timothy Mauntler, Plaintiff, and states the following

complaint for violations of the Fair Debt Collection Practices Act (“FDCPA”) and

violations of Georgia’s Fair Business Practices Act (“FBPA”) against Defendant

LVNV Funding, LLC (“LVNV”) and Defendant Resurgent Capital Services L.P.

(“Resurgent”).

                              INTRODUCTION

                                      1.

      Plaintiff, Timothy Mauntler, (“Plaintiff” or Mr. Mauntler”) through his
counsel, brings this action to challenge the acts of Defendants LVNV and Resurgent

regarding their attempts to unlawfully, misleadingly, and abusively attempt to collect

a debt allegedly owed by Timothy Mauntler, and this conduct caused Plaintiff

damages.

                                            2.

       While many violations are described below with specificity, this Complaint

alleges violations of the statutes cited in their entirety.

                                            3.

       Plaintiff believes that any and all violations by Defendants as alleged in this

Complaint were knowing, willful, and intentional, and Defendants did not maintain

procedures reasonably adapted to avoid any such violation.

                           JURISDICTION AND VENUE

                                            4.

       This action arises out of Defendants’ illegal and improper efforts to collect a

consumer debt and includes multiple violations of the Fair Debt Collection Practices

Act, 15 U.S.C. §§ 1692 et seq. and Georgia’s Fair Business Practices Act, O.C.G.A.

§ 10-1-390 et seq. and Plaintiff’s claims under these statutes are so related that they

form the same case or controversy.




                                            2
                                          5.

      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 (Federal

Question), 15 U.S.C. § 1692k, and 28 U.S.C. §§ 1331 & 1337, as well as 28 U.S.C.

§ 1367 (Supplemental Jurisdiction).

                                          6.

      This Court has personal jurisdiction over the Defendants for the purposes of

this action because Defendants transact business in the State of Georgia and the

committed acts that form the basis for this suit occurred within the State of Georgia.

                                          7.

      Venue is proper in the Northern District of Georgia pursuant to

28 U.S.C. § 1391 because the acts and transactions giving rise to this action as

alleged in this complaint occurred in this District, targeted Plaintiff who is a resident

of this District, and Defendant Resurgent has a registered agent in Georgia located

within this District.

                                          8.

      Pursuant to LR 3.1B(3), venue is proper in the Gainesville Division because

the conduct complained of herein occurred in Hall County, Georgia.




                                           3
                                    PARTIES

                                         9.

      Plaintiff Timothy Mauntler is a natural person who is a resident of Hall

County, Georgia.

                                        10.

      Timothy Mauntler is a “consumer” within the meaning of the FDCPA,

15 U.S.C. § 1692a(3), as he is a natural person who Defendants alleged was

obligated to pay a consumer debt.

                                        11.

      Defendant LVNV Funding LLC is a Limited Liability Company organized

under the laws of the State of Delaware that regularly does business within the State

of Georgia, and in particular Hall County.

                                        12.

      LVNV can be served through its registered agent, CORPORATION

SERVICE COMPANY located at 251 LITTLE FALLS DRIVE, WILMINGTON,

DE 19808, or by service on an officer or director of the company at its principal

place of business located at 6801 S. CIMARRON ROAD, SUITE 424-J, LAS

VEGAS, NV 89113.




                                         4
                                         13.

      LVNV is in the business of debt collection.

                                         14.

      LVNV is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6) as

it uses instrumentalities of interstate commerce or the mails in a business, the

principal purpose of which is the collection of any debts.

                                         15.

      LVNV is a debt collector as it regularly collects or attempts to collect, directly

or indirectly, debts owed or due or asserted to be owed or due another.

                                         16.

      Defendant Resurgent Capital Services L.P. is a Limited Partnership organized

under the laws of the State of Delaware who regularly does business within the State

of Georgia.

                                         17.

      Resurgent is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6)

as it uses instrumentalities of interstate commerce or the mails in a business, the

principal purpose of which is the collection of any debts.

                                         18.

      Resurgent is a debt collector as it regularly collects or attempts to collect,



                                          5
directly or indirectly, debts owed or due or asserted to be owed or due another.

                                        19.

      The individuals, employees, records custodians, officers, directors, and other

individuals who attempt to collect debts on behalf of Defendant LVNV, who manage

the operations of Defendant LVNV, and who engage in debt collection activities on

behalf of Defendant LVNV are employees or agents of Defendant Resurgent.

                                        20.

      Resurgent can be served through its registered agent, Corporation Service

Company located at 40 Technology Pkwy South, #300, Norcross, GA, 30092, or by

service on an employee of managerial status, officer, director, or partner, at its

principal place of business located at 55 Beattie Place, Suite 110, Greenville, SC,

29601.

                          FACTUAL BACKGROUND

                                 The Alleged Debt

                                        21.

      Sometime around 2014, Mr. Mauntler allegedly incurred a financial

obligation that was, namely, a personal credit card with Synchrony Bank, that was

for personal, family and household purposes and is a debt as that term is defined

under 15 U.S.C. § 1692a(5) (“Alleged Debt”).



                                         6
                                        22.

      The last payment alleged to have been made on the Alleged Debt was made

on or around June 2015.

                                        23.

      The Alleged Debt was in default on or around June 2015.

                                        24.

      The Alleged Debt was charged off on or around December 2015.

                                        25.

      Defendants obtained ownership of the Alleged Debt subsequent to the Alleged

Debt being in default.

                                        26.

      Mr. Mauntler is and was a Georgia resident at all times relevant to this action.

                                        27.

      The Georgia statute of limitations for breach of written contract is six years

pursuant to O.C.G.A. § 9-3-24.

                                        28.

      The applicable statute of limitations under Georgia law for a claim to recover

on the Alleged Debt is six-years.




                                          7
                                       29.

      The statute of limitations for an action to recover on the Alleged Debt under

Georgia law started to run in June 2015.

                                       30.

      The statute of limitations for an action to recover on the Alleged Debt under

Georgia law expired in June 2021.

                               The Resurgent Letter

                                       31.

      On or around July 2, 2021, Defendants caused a letter to be sent to Mr.

Mauntler regarding the Alleged Debt (“Resurgent Letter”).

                                       32.

      A true and accurate copy of the Resurgent Letter is attached hereto as Exhibit

A. Plaintiff’s personal information has been redacted within this document,

including his home address.

                                       33.

      On or around July 2, 2021, Mr. Mauntler received the Resurgent Letter in the

mail and reviewed it.




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                                        34.

      The Resurgent Letter states, “Because of the age of your debt, LVNV Funding

LLC cannot sue you for it.”

                                        35.

      Based upon the information contained within the Resurgent Letter, Mr.

Mauntler believed that no lawsuit would be filed against him by Defendants for the

Alleged Debt.

                                        36.

      At the time Defendants sent the Resurgent Letter to Mr. Mauntler, they knew

that the statute of limitations on the Alleged Debt had expired.

                                        37.

      At the time Defendants sent the Resurgent Letter to Mr. Mauntler, they knew

that they had no legal right to sue Mr. Mauntler for the Alleged Debt.

                              The Magistrate Lawsuit

                                        38.

      On or about October 26, 2021, Defendants filed a lawsuit against Mr.

Mauntler to recover the Alleged Debt (“Magistrate Lawsuit”).

                                        39.

      A true and accurate copy of the Magistrate Lawsuit is attached hereto as



                                          9
Exhibit B. Plaintiff’s personal information has been redacted within this document,

including his home address, date of birth and telephone number.

                                        40.

      The Magistrate Lawsuit was filed in the Magistrate Court of Hall County,

Georgia as Civil Action Number MV2021189904P.

                                        41.

      The Magistrate Lawsuit was filed after the statute of limitations to recover the

Alleged Debt had expired under Georgia law.

                                        42.

      Defendants violated the FDCPA by initiating the Magistrate Lawsuit against

Mr. Mauntler when Defendants knew or should have known that the statute of

limitations had expired on its claim and that it had no legal right to pursue legal

action against Mr. Mauntler for this Alleged Debt.

                                        43.

      Mr. Mauntler was personally served with the Magistrate Lawsuit on or around

October 29, 2021 by a Sheriff’s Deputy at his home.

                                        44.

      A true and accurate copy of the Sheriff’s Entry of Service is attached hereto

as Exhibit C. Plaintiff’s personal information has been redacted within this



                                         10
document, including his home address.

                                         45.

      The experience of being personally served by a Sheriff’s Deputy at his home

was distressing to Mr. Mauntler and because of such, he experienced embarrassment,

anxiety, nervousness, and frustration.

                                         46.

      Mr. Mauntler was shocked to learn that the Defendants had filed a lawsuit

against him for the Alleged Debt.

                                         47.

      Mr. Mauntler had never been sued before the Defendants filed the Magistrate

Lawsuit.

                                         48.

      After being served with the Magistrate Lawsuit, Mr. Mauntler had difficulty

sleeping at night because of his constant worry about the Magistrate Lawsuit filed

by the Defendants.

                                         49.

      Mr. Mauntler was forced to obtain legal representation in defense of the

Magistrate Lawsuit filed by Defendants.




                                          11
                                         50.

      Mr. Mauntler incurred legal fees and costs of not less than $350 that would

not have been incurred but for the Defendants’ filing of the Magistrate Lawsuit.

                                         51.

      On or about November 15, 2021, Mr. Mauntler’s attorney filed an Answer to

the Magistrate Lawsuit (“Answer”) with the Court.

                                         52.

      A true and accurate copy of the Answer is attached hereto as Exhibit D.

                                         53.

      The Answer denied that Mr. Mauntler owed the Alleged Debt and included as

its “First Defense” the expiration of the statute of limitations.

                                         54.

      Defendants received a copy of Mr. Mauntler’s Answer filed in response to the

Magistrate Lawsuit on or around November 10, 2021.

                                         55.

      Defendants did not dismiss the Magistrate Lawsuit upon or around the time

they received a copy of Mr. Mauntler’s Answer.

                                         56.

      Defendants violated the FDCPA by continuing to pursue the Magistrate



                                          12
Lawsuit against Mr. Mauntler, particularly when provided with the Answer

specifically stating that the statute of limitations had expired, and Defendants knew

or should have known that they had no legal right to have filed the Magistrate

Lawsuit in the first place.

                                        57.

      The Court scheduled a Mediation/Trial to take place on December 7, 2021 in

the Magistrate Lawsuit.

                                        58.

      A true and accurate copy of the Court’s Notice of Mediation/Trial is attached

hereto as Exhibit E. Plaintiff’s personal information has been redacted within this

document, including his home address.

                                        59.

      Over the period of approximately a month while the Magistrate Lawsuit was

pending with the Court, Mr. Mauntler experienced stress and anxiety, causing

garden-variety emotional distress that would not have been caused but for the

Defendants filing the Magistrate Lawsuit.

                                        60.

      Specifically, Mr. Mauntler spent his Thanksgiving holiday being distracted

and worried about the upcoming Mediation/Trial date in the Magistrate Lawsuit.



                                         13
                                        61.

      Mr. Mauntler lost sleep at night worrying how the outcome of the Magistrate

Lawsuit might affect his ability to meet the needs of his family.

                                        62.

      On or about December 6, 2021, the day before the scheduled Mediation/Trial,

Defendants caused the Magistrate Lawsuit against Mr. Mauntler to be dismissed

without prejudice (“Dismissal”).

                                        63.

      A true and accurate copy of the Dismissal is attached hereto as Exhibit F.

                                        64.

      Defendants dismissed the Magistrate Lawsuit against Mr. Mauntler because

they knew they had filed the Magistrate Lawsuit after the expiration of the statute of

limitations on their claim for the Alleged Debt.

                                        65.

      Defendants dismissed the Magistrate Lawsuit against Mr. Mauntler because

they knew they had no legal right to bring legal action against Mr. Mauntler for the

Alleged Debt.

                                        66.

      Defendants dismissed the Magistrate Lawsuit against Mr. Mauntler because



                                         14
Mr. Mauntler did not owe the Alleged Debt.

                                         67.

      Defendants dismissed the Magistrate Lawsuit against Mr. Mauntler because

they knew they could not prove that Mr. Mauntler owed the Alleged Debt.

                   Documents filed with the Magistrate Lawsuit

                                         68.

      The documents attached to the Magistrate Court Lawsuit show that the

Defendants had sufficient information and knowledge within their possession to

determine and avoid filing a lawsuit beyond the statute of limitations against Mr.

Mauntler.

                                         69.

      Defendants attached to the Magistrate Lawsuit several documents which

included information about the Alleged Debt, such as the date of default or date of

first delinquency, the charge off date, and the date of last payment.

                                         70.

      Defendants did not conduct a meaningful review of the Magistrate Lawsuit

and the documents they attached to it.

                                         71.

      In the alternative, Defendants intentionally disregarded the information



                                          15
regarding the statute of limitations contained with the Magistrate Lawsuit documents

and filed the lawsuit against Mr. Mauntler anyway.

                    The Amounts Sought in Magistrate Lawsuit

                                         72.

      Defendants attached several documents to the Magistrate Lawsuit which

included incorrect statements as to the amount, character, and ownership of the

Alleged Debt in violation of the FDCPA.

                                         73.

      Defendants attempted to collect the incorrect amount for the Alleged Debt

from Mr. Mauntler in violation of the FDCPA.

                                         74.

      Any amounts sought by Defendants in the Magistrate Lawsuit against Mr.

Mauntler in connection with the Alleged Debt were incorrect and/or misrepresented

because Defendants had no legal right to file the Magistrate Lawsuit against Mr.

Mauntler.

                                         75.

      In their attempt to collect the Alleged Debt from Plaintiff, Defendants also

attempted to collect improper interest, fees, and costs in addition to the Alleged Debt

in their Magistrate Lawsuit against Plaintiff.



                                          16
                                        76.

      According to documents attached to the Magistrate Lawsuit by Defendants,

the Alleged Debt was comprised of principal, interest, and other fees.

                                        77.

      Defendants combined interest and principal for the Alleged Debt into one total

amount in their Magistrate Lawsuit and did not separate their claims for principal

and interest.

                                        78.

      Georgia law only allows post-judgment interest to accrue on principal, not

interest. O.C.G.A. § 7-4-12(a).

                                        79.

      Defendants did not break their claimed amount into interest and principal in

order to increase the potential amount they will collect in post- judgment interest by

obtaining an order that includes interest as principal so they can obtain post-

judgment interest on interest in violation of Georgia law.

                                        80.

      Defendants sought court costs and post judgment interest at the legal rate

according to O.C.G.A. § 7-4-12 et. seq. in the Magistrate Lawsuit.




                                         17
                                       81.

      Defendants were not entitled to collect costs or post judgment interest in any

amount because they had no legal right to pursue the Magistrate Lawsuit against Mr.

Mauntler.

                                       82.

      Defendants’ use of documents attached to the Magistrate Lawsuit that contain

incorrect and conflicting statements as to the amount, character, and ownership of

the Alleged Debt in order to try and collect the incorrect amount for the Alleged

Debt from Plaintiff is in violation of the FDCPA.

                                       83.

      Defendants’ incorrect statements as to the amount, character, and ownership

of the Alleged Debt in the Magistrate Lawsuit, and their attempt to collect an

incorrect amount from Plaintiff in the Magistrate Lawsuit, are in violation of the

FDCPA.

                                       84.

      The above described actions and omissions of the Defendants in pursuit of the

Alleged Debt from the Plaintiff represent numerous and multiple violations of the

FDCPA, including, but not limited to, 15 U.S.C. §§ 1692d, 1692e, 1692e(2),




                                        18
1692e(5), 1692e(10), 1692f, and 1692f(1), amongst others, as well as violations of

Georgia law.

                                      Summary

                                         85.

      The above-described collection conduct by Defendants in their efforts to

collect this Alleged Debt from Plaintiff were oppressive, deceptive, misleading,

unfair and illegal communications in an attempt to collect this alleged debt, all done

in violation of numerous and multiple provisions of the FDCPA and the FBPA.

                                         86.

      These collection actions taken by Defendants, and their employees and agents,

were made in violation of multiple provisions of the FDCPA and the FBPA,

including but not limited to all of the provisions of those laws cited herein.

                                         87.

      These violations by Defendants were knowing, willful, negligent and/or

intentional, and Defendants did not maintain procedures reasonably adapted to avoid

any such violations.

                                         88.

      Defendants’ collection efforts with respect to this alleged debt from Plaintiff

caused Plaintiff to suffer concrete and particularized harm because the FDCPA and



                                          19
FBPA provide Plaintiff with the legally protected right to be treated fairly and

truthfully with respect to any action for the collection of any consumer debt.

                                         89.

      Defendants’ deceptive, misleading and unfair representations with respect to

its collection efforts were material misrepresentations that affected and frustrated

Plaintiff’s ability to intelligently respond to Defendants’ collection efforts because

Plaintiff could not adequately respond to the Defendants’ demand for payment of

this debt.

                                         90.

      Defendants, and their employees and agents, each have intentionally and

willfully violated the FDCPA and FBPA.

                                         91.

      Defendants were aware, or should have been aware, of the unlawful debt

collection practices being used by its employees and agents to collect alleged debts.

                                         92.

      As an actual and proximate result of the acts and omissions of Defendants and

its employees and agents, Plaintiff has suffered actual damages and injury, including

but not limited to, monetary loss, fear, stress, mental anguish, emotional stress, acute

embarrassment, anxiety, embarrassment, frustration, and suffering, for which



                                          20
Plaintiff should be compensated in an amount to be established at trial.

                          RESPONDEAT SUPERIOR

                                        93.

      The individuals, employees, records custodians, officers, directors, and other

individuals who attempt to collect debts on behalf of Defendant LVNV, who manage

the operations of Defendant LVNV, and who engage in debt collection activities on

behalf of Defendant LVNV are employees or agents of Defendant Resurgent.

                                        94.

      The acts and omissions of Defendant Resurgent’s employees who acted as

agents for Defendant LVNV as described herein, were committed within the time

and space limits of their agency relationship with their respective principal,

Defendant Resurgent.

                                        95.

      The acts and omissions by Defendant Resurgent’s employees who acted as

agents for Defendant LVNV were incidental to, or of the same general nature as the

responsibilities these agents were authorized to perform by Defendant Resurgent in

collecting consumer debts.

                                        96.

      By committing these acts and omissions against Plaintiff, Defendant LVNV’s



                                         21
employees and agents were motivated to benefit their respective principals,

Defendant Resurgent.

                                        97.

      Defendants are therefore liable to Plaintiff through the doctrine of respondeat

superior for the intentional and negligent acts, errors, and omissions done in

violation of state and federal law by their respective employees or agents.


                 FIRST CAUSE OF ACTION
  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                    15 U.S.C. § 1692 et seq.

                                        98.

    Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

                                        99.

    The foregoing acts and omissions of Defendants and its agents constitute

numerous and multiple violations of the FDCPA including, but not limited to, each

and every one of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.,

with respect to Plaintiff.

                                       100.

      As a result of Defendants’ violations of the FDCPA, Plaintiff is entitled to

statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. §


                                         22
1692k(a)(2)(A); and, reasonable attorney’s fees and costs pursuant to 15 U.S.C. §

1692k(a)(3), from Defendants herein.

                  SECOND CAUSE OF ACTION
    VIOLATIONS OF GEORGIA’S FAIR BUSINESS PRACTICES ACT
                    O.C.G.A. § 10-1-390 et seq

                                   COUNT 1
          Violations of Georgia’s FBPA – Legal Remedy and Damages

                                       101.

      Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

                                       102.

      Defendants have violated Georgia’s Fair Business Practices Act (“FBPA”),

O.C.G.A. § 10-1-390 et seq.

                                       103.

      The purpose of the FBPA is to protect consumers from unfair and/or deceptive

practices in the conduct of any trade or commerce in part or wholly in the state.

O.C.G.A. § 10-1-391.

                                       104.

      O.C.G.A. § 10-1-391 directs that the FPBA is to be interpreted and applied

liberally and in harmony with the Federal Trade Commission Act, 15 U.S.C. §

45(a)(1), which implements the FDCPA.


                                           23
                                        105.

      O.C.G.A. § 10-1-393(a) of the FBPA broadly prohibits unfair and/or

deceptive business practices.

                                        106.

      Defendants’ conduct has implications for the consuming public in general.

                                        107.

      Defendants’ conduct negatively impacts the consumer marketplace.

                                        108.

      Defendants intentionally engaged in unfair and deceptive business practices,

as set forth herein, in an effort to collect a consumer debt.

                                        109.

      Defendants’ actions constitute unfair or deceptive acts or practices in the

conduct of consumer transactions in trade or commerce and therefore violate FBPA.

O.C.G.A. § 10-1-390 et seq.

                                        110.

      Defendants’ conduct as described herein constitute independent violations of

the FBPA.

                                        111.

      Defendants’ actions also violate the FDCPA 15 U.S.C. §§ 1692 et seq., as



                                          24
detailed herein.

                                       112.

      Courts have recognized that violations of the FDCPA are also violations of

the FBPA. O.C.G.A. § 10-1-390 et seq. See 1st Nationwide Collection Agency v.

Werner, 288 Ga. App. 457, 458-60, 654 S.E.2d 428, 430-31 (2007).

                                       113.

      Defendants’ actions in violation of the FDCPA, and therefore in violation of

Georgia’s FBPA, were intentional in nature and part of a business model designed

to collect debts based on false, misleading, deceptive, unfair, unconscionable,

abusive, harassing, and oppressive collection practices.

                                       114.

      Defendant LVNV does not maintain a place of business within Georgia.

                                       115.

      Defendant LVNV does not keep assets within Georgia.

                                       116.

      Defendant Resurgent does not maintain a place of business within Georgia.

                                       117.

      Defendant Resurgent does not keep assets within Georgia.




                                         25
                                        118.

      The requirements of O.C.G.A. § 10-1-399(b) do not apply to Plaintiff’s claims

against Defendants in this lawsuit.

                                        119.

      Out of an abundance of caution, Defendants were served with a demand letter

compliant with O.C.G.A. § 10-1-399(b) more than thirty days prior to the filing of

this lawsuit.

                                        120.

      Defendant LVNV was served with a demand letter compliant with O.C.G.A.

§ 10-1-399(b) more than thirty days prior to the filing of this lawsuit.

                                        121.

      Defendant Resurgent was served with a demand letter compliant with

O.C.G.A. § 10-1-399(b) more than thirty days prior to the filing of this lawsuit.

                                        122.

      Defendant LVNV did not respond to Plaintiff’s demand letter.

                                        123.

      Defendant Resurgent did not respond to Plaintiff’s demand letter.

                                        124.

      Plaintiff seeks actual damages from Defendants for the mental and emotional



                                          26
distress caused by Defendants’ actions in violation of the FDCPA and FBPA, as well

as other actual damages that may be shown with more particularity at a later date.

O.C.G.A. § 10-1-399(a).

                                       125.

      Plaintiff seeks damages of three times actual damages, against Defendants for

their intentional and purposeful action in attempting to collect the Alleged Debt in

violation of the FBPA. O.C.G.A. § 10-1-399(c).

                                  COUNT 2
                    Punitive Damages Under Georgia’s FBPA

                                       126.

      Plaintiff has a statutorily created right to “exemplary damages,” sometimes

also called punitive damages, pursuant to O.C.G.A. § 10-1-399(a) for intentional

violations of the FBPA. O.C.G.A. § 10-1-390 et seq.

                                       127.

      Plaintiff alleges that Defendants’ continued actions as described herein are

intentional in nature and requests that this Court award Plaintiff exemplary damages

in an amount to be determined by the enlightened conscious of a jury.

                                       128.

      Plaintiff further seeks full recovery of reasonable attorney’s fees and costs for

this action in accordance with O.C.G.A. § 10-1-399(d).


                                         27
                         THIRD CAUSE OF ACTION
                      Punitive Damages Against Defendants

                                       129.

      Plaintiff incorporates by reference all of the factual allegations in this

Complaint as though fully stated herein.

                                       130.

      In determining punitive damages, the court must consider the nature,

frequency and persistency of the violations and the extent to which they were

intentional.

                                       131.

      Upon information and belief, Plaintiff alleges that Defendants and its agents

acted willfully and with malice, wantonness, oppression, or with that entire want of

care which would raise the presumption of conscious indifference to the

consequences of its actions, entitling Plaintiff to an award of punitive damages in an

amount to be determined by the enlightened conscience of a jury.

                                 JURY DEMAND

                                       132.

      Plaintiff demands a trial by jury.

WHEREFORE, Plaintiff prays that this Court:




                                           28
• Find Defendants liable for violations of the Fair Debt Collection Practices Act

   for the reasons stated in the Complaint above;

• Award Plaintiff the full $1,000 statutory damages against each Defendant for

   its FDCPA violations;

• Award Plaintiff actual damages for Defendants’ FDCPA violations as

   described herein and to be further shown in an amount to be shown with more

   particularity at a later date pursuant to 15 U.S.C. § 1692k(a);

• Award Plaintiff’s reasonable attorney’s fees and costs in accordance with the

   FDCPA 15 U.S.C. § 1692k(a)(2)-(3);

• Find Defendants liable for actual damages in an amount to be shown with

   more particularity at a later date for its violations of Georgia’s Fair Business

   Practices Act, O.C.G.A. § 10-1-390 et seq.;

• Find Defendants liable for damages in the amount of three times actual

   damages for its violations of Georgia’s Fair Business Practices Act, O.C.G.A.

   § 10-1-399(c);

• Find Defendants liable for punitive damages in an amount to be determined

   by the enlightened conscious of a jury pursuant to Georgia’s Fair Business

   Practices Act, O.C.G.A. § 10-1-399(a) and O.C.G.A. § 51-12-5.1;




                                      29
  • Award Plaintiff’s reasonable attorney’s fees and costs in accordance with the

     Georgia’s FBPA, O.C.G.A. § 10-1-399(d), for all Defendant’s violations of

     Georgia’s Fair Business Practices Act;

  • Award Plaintiff the reasonable costs of this action;

  • Award Plaintiff other expenses of litigation;

  • Grant Plaintiff such other and additional relief as the Court deems just and

     equitable.



Submitted this February 11, 2022.

                                              /s/Jillian Sandt
                                              JILLIAN SANDT
                                              Georgia Bar No.: 854396
                                              ATTORNEY FOR PLAINTIFF

                                              SANDT LAW LLC
                                              P.O. Box 188
                                              Tucker, Ga 30085
                                              (770) 714-1404
                                              jill@sandtlawllc.com




                                       30
                       CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D, the undersigned counsel certifies that this

document has been prepared using Times New Roman 14-point font.

      Submitted February 11, 2022.

                                          /s/Jillian Sandt
                                          JILLIAN SANDT
                                          Georgia Bar No.: 854396
                                          ATTORNEY FOR PLAINTIFF
SANDT LAW LLC
P.O. Box 188
Tucker, Ga 30085
(770) 714-1404
jill@sandtlawllc.com




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